           Case 2:11-cr-00216-JAM Document 84 Filed 06/11/13 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   MATTHEW G. MORRIS
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,              )   Case No. 2:11-cr-00216-MCE
10                                          )
                   Plaintiff,               )   STIPULATION AND ORDER
11                                          )   CONTINUING STATUS CONFERENCE
          v.                                )   AND EXCLUDING TIME FOR PURPOSES
12                                          )   OF THE SPEEDY TRIAL ACT WITH
     DESHAWN A. RAY,                        )   RESPECT TO DEFENDANT TIFFANY
13   REGINALD L. THOMAS, and                )   TUNG
     TIFFANY TUNG,                          )
14                                          )
                   Defendants.              )
15                                          )

16
          Plaintiff United States of America, by and through Assistant
17
     United States Attorney Matthew Morris and Defendant Tiffany Tung, by
18
     and through her attorney, Robert Byers, hereby stipulate as follows:
19
          The parties agree that the status conference scheduled for June
20
     6, 2013, be continued to August 15, 2013.        The parties request the
21
     continuance based upon the following facts, which the parties believe
22
     demonstrate good cause to support the appropriate findings under the
23
     Speedy Trial Act:
24
          Defendant Tung is reviewing discovery and investigating the
25
     case, and is in discussions with the United States regarding
26
     potential resolution of the case without trial.         The government is
27
     considering a request to provide early Jencks material and
28

                                            1
              Case 2:11-cr-00216-JAM Document 84 Filed 06/11/13 Page 2 of 3


 1   anticipates proving that material this week.
 2         The requested continuance is not based on congestion of the
 3   Court’s calendar, lack of diligent preparation on the part of the
 4   attorney for the government or the defense, or failure on the part of
 5   the attorney for the government to obtain available witnesses.
 6         For purposes of computing the date under the Speedy Trial Act by
 7   which defendant’s trial must commence, the parties agree that the
 8   time period of June 6, 2013 to August 15, 2013, inclusive, should be
 9   excluded pursuant to 18 U.S.C. Section 3161 because under 18 U.S.C.
10   Section 3161(h)(7)(B)(iv) and local code T4, the delay results from a
11   continuance granted by the Court at the defendant’s request, with the
12   agreement of the government, on the basis of the Court’s finding
13   that: (i) the delay will allow defense counsel reasonable time to
14   prepare; and (ii) the ends of justice served by the continuance
15   outweigh the best interest of the public and defendant in a speedy
16   trial.
17
18   IT IS SO STIPULATED.
19
20                                  /s/ Matthew Morris
     DATED: June 4, 2013            MATTHEW G. MORRIS
21                                  Assistant United States Attorney
22
                                    /s/ Robert Byers, (as authorized 6/4/13)
23   DATED: June 4, 2013            ROBERT BYERS
                                    Attorney for TIFFANY TUNG
24
25   ///
26   ///
27   ///
28   ///

                                               2
            Case 2:11-cr-00216-JAM Document 84 Filed 06/11/13 Page 3 of 3


 1                                        ORDER
 2
 3         In accordance with the foregoing stipulation of the parties, and
 4   good cause appearing, the status conference in this matter is hereby
 5   continued from June 6, 2013 to August 15, 2013 at 9:00 a.m. in
 6   Courtroom No. 7.
 7         IT IS SO ORDERED.
 8   Date: June 05, 2013
 9   _____________________________________
                                   _____________________________________________
10                                 MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                   UNITED STATES DISTRICT COURT
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                             3
